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                               Exhibit A
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   11
   12   Attorneys for Defendants
   13
   14                     UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
   15
   16
        ATEN INTERNATIONAL, CO. LTD.          No. 2:15-cv-04424-AJG-AJW
   17
   18                       Plaintiff,         JUDGMENT

   19       vs.
   20
        UNICLASS TECHNOLOGY CO.,              Hon. Andrew J. Guilford
   21
        LTD., et al.
   22
                          Defendants.
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    1         This action came before the Court for trial by jury beginning September
    2   19, 2017 before a duly impaneled and sworn jury. The parties to the action are
    3   plaintiff ATEN International Co., Ltd. ("ATEN") and defendants Uniclass
    4   Technology Co., Ltd. ("Uniclass"), Electronic Technology Co., Ltd. of
    5   Dongguan Uniclass, Airlink 101 , Phoebe Micro Inc., Broadtech International
    6   Co., Ltd. D/B/A Linkskey, Black Box Corporation, and Black Box Corporation
    7   of Pennsylvania (the "Other Defendants") (collectively, "Defendants"). The
    8   issues have been tried, and the jury rendered a verdict on October 4, 2017. The
    9   verdict was accepted by the Court and filed by the Clerk. (Dkt. 457.)
   10         Therefore, pursuant to Rule 58 of the Federal Rules of Civil Procedure,
   11   JUDGMENT is hereby entered in this matter as follows:
   12         IT IS ORDERED AND ADJUDGED that judgment be and is hereby
   13   entered in favor of Defendants and against ATEN of a finding of
   14   noninfringement with respect to direct and literal infringement and infringement
   15   under the doctrine of equivalents of claims 1-20 of U.S. Patent No. 7,640,289
   16   ("the '289 patent").
   17         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   18   hereby entered in favor of Defendants and against ATEN of a finding of
   19   noninfringement with respect to indirect infringement of claims 1-20 of the '289
  20    patent.
   21         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   22   hereby entered in favor of Defendants and against ATEN of a finding of
   23   noninfringement with respect to willful infringement of claims 1-20 of the '289
   24   patent.
   25         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   26   hereby entered in favor ofDefendants and against ATEN of a finding of
   27   noninfringement with respect to direct and literal infringement and infringement
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    1   under the doctrine of equivalents of claim 5 of U.S. Patent No. 6,957,287 ("the
    2   ' 287 patent").
    3         IT IS FURTHER ORDERED AND ADmDGED that judgment be and is
    4   hereby entered in favor of Defendants and against ATEN of a finding of
    5   noninfringement with respect to indirect infringement of claim 5 the ' 287 patent.
    6         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
    7   hereby entered in favor of Defendants and against ATEN of a finding of
    8   noninfringement with respect to willful infringement of claim 5 the ' 287 patent.
    9         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   10   hereby entered in favor of Defendants and against ATEN of a finding of
   11   noninfringement with respect to direct and literal infringement and infringement
   12   under the doctrine of equivalents of claims 1, 3, and 4 of U.S. Patent No.
   13   7,472,217 ("the '217 patent").
   14         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   15   hereby entered in favor of Defendants and against ATEN of a finding of
   16   non infringement with respect to indirect infringement of claims 1, 3, and 4 of the
   17   '217 patent.
   18         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   19   hereby entered in favor of Defendants and against ATEN of a finding of
   20   noninfringement with respect to willful infringement of claims 1, 3, and 4 of the
   21   ' 217 patent.
   22         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   23   hereby entered in favor of Defendants and against ATEN of a finding of
   24   noninfringement with respect to direct and literal and infringement under the
   25   doctrine of equivalents infringement of claims 3, 8, and 10 of U.S. Patent No.
   26   8,589,141 ("the '141 patent").
   27         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   28   hereby entered in favor of Defendants and against ATEN of a finding of


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    1   noninfringement with respect to indirect infringement of claims 3, 8, and 10 of
    2   the ' 141 patent.
    3          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
    4   hereby entered in favor of Defendants and against ATEN of a fmding of
    5   noninfringement with respect to willful infringement of claims 3, 8, and 10 of the
    6   '141 patent.
    7          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
    8   hereby entered in favor of Defendants and against ATEN that Defendants did
    9   prove invalidity of claims 1, 3, and 4 of the ' 217 patent based upon obviousness.
   10          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   11   hereby entered in favor of Defendants and against ATEN that Defendants did
   12   prove invalidity of claims 3, 8, and 10 of the ' 141 patent based upon anticipation.
   13          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
   14   hereby entered in favor of Defendants and that Defendants do not owe any
   15   damages to ATEN.
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   17          IT IS SO ORDERED.
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   20   Dated: December 12, 2017
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                                         Hon. Andrew J. Guilford
   24                                    UNITED STATES DISTRICT COURT JUDGE
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